     Case 4:15-cv-00256-Y Document 6 Filed 06/29/15                Page 1 of 2 PageID 53


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

JACKELINE GONZALEZ,                             §
                                                §
       Plaintiff,                               §
                                                §
V.                                              §      CIVIL ACTION NO. 4:15-CV-00256-Y
                                                §
STATE FARM LLOYDS,                              §
                                                §      JURY DEMANDED
       Defendant.                               §


                             JOINT NOTICE OF SETTLEMENT

TO THE HONORABLE JUDGE OF SAID COURT:

       The Parties wish to announce they reached an agreement of settlement in this matter. The

Parties anticipate they will have the settlement finalized within 60 days from today, upon which

time Plaintiff will file the appropriate dismissal documents with the Court.



                                             Respectfully submitted,

                                             /s/ Clayton Hardin*
                                             Bill L. Voss
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                                             Scott G. Hunziker
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JOINT NOTICE OF SETTLEMENT – PAGE 1
2218019v1
10578.132
     Case 4:15-cv-00256-Y Document 6 Filed 06/29/15             Page 2 of 2 PageID 54



                                           And


                                           /s/ Rhonda J. Thompson
                                           Rhonda J. Thompson
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                                           Adrienne B. Hamil
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                                           STATE FARM LLOYDS


                                 CERTIFICATE OF SERVICE

        The undersigned certifies that on the 29th day of June 2015, the foregoing pleading was
delivered to the following counsel of record for Plaintiff via electronic filing and email in
accordance with the Federal Rules of Civil Procedure:

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                                           /s/ Adrienne B. Hamil
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JOINT NOTICE OF SETTLEMENT – PAGE 2
2218019v1
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